     Case: 1:21-cr-00367 Document #: 1 Filed: 06/08/21 Page 1 of 13 PageID #:1


                                                                 FIL/2E0D
                                                                        21
                                                                      6/8
                                                      AUSA Aaron R. Bond (312) 469-6047
                                                                               . BRUTO    N
                                                                    THOMA.SDGIS T R IC T COURT
                                                               CLERK, U.S
                      UNITED STATES DISTRICT COURT
                                                    MAGISTRATE JUDGE FUENTES
                      NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION                              JJ

UNITED STATES OF AMERICA
                                                   Case No.: 21 CR 367-1
              v.                                   GABRIEL FUENTES
                                                   Magistrate Judge
CHRISTIAN KULAS

                   AFFIDAVIT IN REMOVAL PROCEEDING

      I, JACOB SCHAEFER, personally appearing before United States Magistrate

Judge GABRIEL FUENTES and being duly sworn on oath, state that as a federal law

enforcement officer I have been informed that CHRISTIAN KULAS has been charged

by Complaint in the District of Columbia with the following criminal offenses:

unlawful entry on restricted building and grounds, in violation of Title 18, United

States Code, Section 1752(a)(1) and (2) and disorderly conduct on U.S. Capitol

grounds in violation of Title 40, United States Code, Section 5104(e)(2)(D) and (G).

      A copy of the Complaint is attached. A copy of the arrest warrant also is

attached.


                                                    JACOB SCHAEFER
                                                    Special Agent
                                                    Federal Bureau of Investigation


SUBSCRIBED AND SWORN to before me this 8th day of June, 2021.


                                                    GABRIEL FUENTES
                                                    United States Magistrate Judge
               Case: 1:21-cr-00367 Document #: 1 Filed: 06/08/21 Page 2 of 13 PageID #:2
AO 91 (Rev. 08/09) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District ofColumbia

                 United States ofAmerica                           )
                            v.                                     )
                   CHRISTIAN KULAS                                 )     Case No.
                                                                   )
                          xx-xx-xxxx                               )
                                                                   )
                           Defendant(s)

                                                      CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best ofmy knowledge and belief.
On or about the date(s) of                    January 6, 2021            in the county of __________ in the
                                              mbi=a___ , the defendant(s) violated:
                       District of ___C=-o=l=u==-
           Code Section                                                      Offense Description
 18 U.S.C. § 1752(a)(1) and (2)                  Unlawful Entry on Restricted Building and
                                                 Grounds
 40 U.S.C. § 5104(e)(2)(D) and (G)               Disorderly Conduct on U.S. Capitol Grounds




          This criminal complaint is based on these facts:
 SEE ATTACHED AFFIDAVIT




          'if Continued on the attached sheet.



                                                                                      Jacob Schaefer, Special Agent
                                                                                            Printed name and title
Attested to by the applicant in accordance with the requirements ofFed. R. Crim. P. 4.1 by
Telephone                                       (specify reliable electronic means).

 Date:             06/03/2021
                                                                                              Judge's signature

 City and state:                          Washington, DC                       G. Michael Harvey, United States Magistrate
                                                                                            Printed name and title
      Case: 1:21-cr-00367 Document #: 1 Filed: 06/08/21 Page 3 of 13 PageID #:3




                AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

                                     CHRISTIAN KULAS
                                    Date of Birth xx/xx/xxxx

I, Jacob A. Schaefer, being first duly sworn, depose and state as follows:

                                 AFFIANT’S BACKGROUND

   1. Your affiant, Jacob A. Schaefer, is a Special Agent assigned to the Federal Bureau of
      Investigation (FBI) and have been so employed for approximately three years. In my
      assigned duties as a Special Agent, I investigate domestic terrorism. Currently, I am tasked
      with investigating criminal activity in and around the U.S. Capitol grounds on January 6,
      2021. As a Special Agent, I am authorized by law or by a Government agency to engage in
      or supervise the prevention, detention, investigation, or prosecution of a violation of Federal
      criminal laws.

   2. I am familiar with the facts and circumstances set forth below from my personal
      participation in the investigation, my review of documentation and publicly available
      information, and my conversations with other law enforcement officers. Where the actions,
      statements, and conversations of others are recounted herein, they are recounted in
      substance and part, unless otherwise indicated. Where the affidavit contains items in
      quotation marks, those quotations are based on agent notes and may not be completely
      verbatim. Because this affidavit is being submitted for the limited purpose of supporting a
      criminal complaint, I am setting forth only those facts and circumstances necessary to
      establish probable cause for the issuance of the requested complaint. Unless otherwise
      indicated, all written and oral statements referred to herein are set forth in substance and in
      part, rather than verbatim.

                                      PURPOSE OF AFFIDAVIT

   3. This affidavit is in support of a criminal complaint charging CHRISTIAN KULAS with
      violations of 18 U.S.C. §§ 1752(a)(1) and (2) (unlawful entry on restricted building and
      grounds), and 40 U.S.C. §§ 5104(e)(2) (D) and (G) (disorderly conduct on U.S. Capitol
      grounds).

                       FACTUAL BASIS SUPPORTING PROBABLE CAUSE

   4. The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
      U.S. Capitol include permanent and temporary security barriers and posts manned by U.S.
      Capitol Police. Only authorized people with appropriate identification were allowed access
      inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also
      closed to members of the public.

   5. On January 6, 2021, a joint session of the United States Congress convened at the U.S.
      Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
  Case: 1:21-cr-00367 Document #: 1 Filed: 06/08/21 Page 4 of 13 PageID #:4




   elected members of the United States House of Representatives and the United States Senate
   were meeting in separate chambers of the United States Capitol to certify the vote count of
   the Electoral College of the 2020 Presidential Election, which had taken place on November
   3, 2020. The joint session began at approximately 1:00 PM. Shortly thereafter, by
   approximately 1:30 PM, the House and Senate adjourned to separate chambers to resolve a
   particular objection. Vice President Mike Pence was present and presiding, first in the joint
   session, and then in the Senate chamber.

6. As the proceedings continued in both the House and the Senate, and with Vice President
   Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
   Capitol. As noted above, temporary and permanent barricades were in place around the
   exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting
   to keep the crowd away from the Capitol building and the proceedings underway inside.

7. At such time, the certification proceedings were still underway, and the exterior doors and
   windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
   Police attempted to maintain order and keep the crowd from entering the Capitol; however,
   shortly around 2:00 PM, individuals in the crowd forced entry into the U.S. Capitol,
   including by breaking windows and by assaulting members of the U.S. Capitol Police, as
   others in the crowd encouraged and assisted those acts.

8. Shortly thereafter, at approximately 2:20 PM, members of the United States House of
   Representatives and United States Senate, including the President of the Senate, Vice
   President Pence, were instructed to—and did—evacuate the chambers. Accordingly, the
   joint session of the United States Congress was effectively suspended until shortly after 8:00
   PM. Vice President Pence remained in the United States Capitol from the time he was
   evacuated from the Senate Chamber until the sessions resumed.

9. During national news coverage of the aforementioned events, video footage which appeared
   to be captured on mobile devices of persons present on the scene depicted evidence of
   violations of local and federal law, including scores of individuals inside the U.S. Capitol
   building without authority to be there.

10. On and about January 9, 2021, FBI received multiple tips that an individual by the name of
    CHRISTIAN KULAS was captured in images and video of the unlawful activity that
    occurred on January 6, 2021, in and around the U.S. Capitol Building and grounds. As a
    result of these tips, the FBI interviewed several individuals.

11. A cooperating witness (“CW-1”) provided the FBI video clips from an Instagram social
    media account with the user ID “radheshyam97” (the “Instagram Account”). The video
    clips from the Instagram Account include a video depicting the scene at the January 6, 2021,
    rally where President Trump was speaking, and appears to have been filmed from within
    the crowd of rallygoers:
  Case: 1:21-cr-00367 Document #: 1 Filed: 06/08/21 Page 5 of 13 PageID #:5




12. A second video clip posted on the Instagram account shows a large crowd of people walking
    towards the U.S. Capitol Building chanting “block the steal”:




13. A third video clip posted on the Instagram account shows a crowd of people climbing the
    exterior wall of the U.S. Capitol Building:
  Case: 1:21-cr-00367 Document #: 1 Filed: 06/08/21 Page 6 of 13 PageID #:6




14. A fourth video clip posted on the Instagram Account shows a large crowd walking up the
    steps of the U.S. Capitol Building:




15. The video clip of people walking up the steps outside the U.S. Capitol Building includes a
    moment where the camera pans around and shows the face of the individual that appears to
    be operating the camera. The individual depicted in the video is laughing. The individual
    is wearing a dark baseball type hat with “KEEP AMERICA GREAT” in bright orange
    letters on the hat. The individual was also wearing a dark coat with a Burberry print around
    the hood of the coat:
  Case: 1:21-cr-00367 Document #: 1 Filed: 06/08/21 Page 7 of 13 PageID #:7




16. A fifth video clip posted by the Instagram Account depicts the inside of the U.S. Capitol
    Building. During the video, a male voice can be heard saying, “Storming the Capitol”:




17. CW-1 provided additional information to the FBI about the user of the Instagram account.
    CW-1 stated that KULAS lived in the Winnetka/Lake Forest area of Illinois and provided a
    point of contact (“CW-2”) who had additional information about KULAS.

18. The FBI also interviewed CW-2, an individual who has known KULAS for several years.
    CW-2 reported that CW-2 attended middle school and high school with KULAS. CW-2
    viewed the videos posted by the Instagram Account, and was highly confident that the
  Case: 1:21-cr-00367 Document #: 1 Filed: 06/08/21 Page 8 of 13 PageID #:8




   individual depicted in the videos wearing the Burberry coat was KULAS. CW-2 was also
   familiar with the sound of KULAS’s voice, and CW-2 identified KULAS as the speaker of
   the words “storming the Capitol” in the video posted by the Instagram Account.

19. The FBI has obtained additional video footage from a variety of sources that appears to
    show KULAS inside the U.S. Capitol Building on January 6, 2021, wearing the same hat
    and Burberry coat depicted in the videos posted by the Instagram Account. This other video
    footage includes footage taken by other rioters, and also official surveillance camera
    footage:




20. The Instagram Account was registered using an e-mail address, and the FBI has learned that
    the registration e-mail address was itself registered by an individual who provided his name
    as “Christian Kulas”. The Instagram Account profile page for the user includes a photograph
    that appears to be KULAS:
  Case: 1:21-cr-00367 Document #: 1 Filed: 06/08/21 Page 9 of 13 PageID #:9




21. The FBI learned that some of the photographs that appear to be taken from the video footage
    posted by the Instagram Account appeared on a social media service. In a response to a
    posted question about the photographs, a user of the social media service identified the
    image in the photographs as the user’s “son”. Law enforcement examined government
    databases and identified the name of KULAS’ mother and her phone number. The user of
    the social media service had a user ID that matched the name of KULAS’ mother. Law
    enforcement obtained subscriber information from the social media service about the user’s
    account, and learned that the user’s account was created using an e-mail address that also
    matched the name of KULAS’ mother. Additionally, the subscriber information for the
    user’s account contained KULAS’ mother’s phone number.
Case: 1:21-cr-00367 Document #: 1 Filed: 06/08/21 Page 10 of 13 PageID #:10
    Case: 1:21-cr-00367 Document #: 1 Filed: 06/08/21 Page 11 of 13 PageID #:11




      functions; or attempts or conspires to do so. For purposes of Section 1752 of Title 18, a
      "restricted building" includes a posted, cordoned off, or otherwise restricted area of a
      building or grounds where the President or other person protected by the Secret Service,
      including the Vice President, is or will be temporarily visiting; or any building or grounds
      so restricted m conjunction with an event designated as a special event of national
      significance.

   23. Your affiant submits there is also probable cause to believe that CHRISTIAN KULAS
       violated 40 U.S.C. §§ 5104(e)(2)(D) and (G), which makes it a crime to willfully and
       knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or
       disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the
       intent to impede, disrupt, or disturb the orderly conduct of a session of Congress or either
       House of Congress, or the orderly conduct in that building of a hearing before, or any
       deliberations of, a committee of Congress or either House of Congress; and (G) parade,
       demonstrate, or picket in any of the Capitol Buildings.




                                                   ~R~
                                                    SPECIAL AGENT
                                                    FEDERAL BUREAU OF INVESTIGATION

       Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 3rd day of June 2021.




                                                    HON. G. MICHAEL HARVEY
                                                    U.S. MAGISTRATE JUDGE
                    Case: 1:21-cr-00367 Document #: 1 Filed: 06/08/21 Page 12 of 13 PageID #:12
 $2  5HY  $UUHVW :DUUDQW



                                         81,7(' 67$7(6 ',675,&7 &2857
                                                                          IRU WKH
                                                                 District of Columbia
             8QLWHG 6WDWHV RI $PHULFD

                            Y

                &+5,67,$1 .8/$6



                             Defendant


                                                           $55(67 :$55$17
 7R      $Q\ DXWKRUL]HG ODZ HQIRUFHPHQW RIILFHU

          <28 $5( &200$1'(' WR DUUHVW DQG EULQJ EHIRUH D 8QLWHG 6WDWHV PDJLVWUDWH MXGJH ZLWKRXW XQQHFHVVDU\ GHOD\
 (name of person to be arrested) &KULVWLDQ .XODV
  ZKR LV DFFXVHG RI DQ RIIHQVH RI YLRODWLRQ EDVHG RQ WKH IROORZLQJ GRFXPHQW ILOHG ZLWK WKH FRXUW


 u ,QGLFWPHQW             u 6XSHUVHGLQJ ,QGLFWPHQW                u ,QIRUPDWLRQ           u 6XSHUVHGLQJ ,QIRUPDWLRQ             ✔ &RPSODLQW
                                                                                                                                u
 u 3UREDWLRQ 9LRODWLRQ 3HWLWLRQ               u 6XSHUYLVHG 5HOHDVH 9LRODWLRQ 3HWLWLRQ               u 9LRODWLRQ 1RWLFH          u 2UGHU RI WKH &RXUW
7KLV RIIHQVH LV EULHIO\ GHVFULEHG DV IROORZV
 86&   D  DQG  8QODZIXO (QWU\ RQ 5HVWULFWHG %XLOGLQJ DQG
*URXQGV

 86&   H  ' DQG * 'LVRUGHUO\ &RQGXFW RQ 86 &DSLWRO
*URXQGV 

                                                                                                               Digitally signed by
                                                                                                               G. Michael Harvey
                                                                                                               Date: 2021.06.03
 'DWH -XQH                                                                                             16:22:16 -04'00'
                                                                                                       Issuing officer’s signature


 &LW\ DQG VWDWH       :DVKLQJWRQ '&                                                    * 0LFKDHO +DUYH\ 8QLWHG 6WDWHV 0DJLVWUDWH
                                                                                                       Printed name and title
                                                                                                                -XGJH

                                                                          5HWXUQ

            7KLV ZDUUDQW ZDV UHFHLYHG RQ (date)                                  DQG WKH SHUVRQ ZDV DUUHVWHG RQ (date)
 DW (city and state)                                                  

 'DWH
                                                                                                    Arresting officer’s signature



                                                                                                       Printed name and title
                  Case: 1:21-cr-00367 Document #: 1 Filed: 06/08/21 Page 13 of 13 PageID #:13
$2  5HY  $UUHVW :DUUDQW 3DJH 




                    7KLV VHFRQG SDJH FRQWDLQV SHUVRQDO LGHQWLILHUV SURYLGHG IRU ODZHQIRUFHPHQW XVH RQO\
                    DQG WKHUHIRUH VKRXOG QRW EH ILOHG LQ FRXUW ZLWK WKH H[HFXWHG ZDUUDQW XQOHVV XQGHU VHDO

                                                        (Not for Public Disclosure)

1DPH RI GHIHQGDQWRIIHQGHU           &KULVWLDQ .XODV
.QRZQ DOLDVHV
/DVW NQRZQ UHVLGHQFH
3ULRU DGGUHVVHV WR ZKLFK GHIHQGDQWRIIHQGHU PD\ VWLOO KDYH WLHV                                .HQLOZRUWK ,/ 


/DVW NQRZQ HPSOR\PHQW
/DVW NQRZQ WHOHSKRQH QXPEHUV
3ODFH RI ELUWK
'DWH RI ELUWK                        

6RFLDO 6HFXULW\ QXPEHU               1$
                                                                                   
+HLJKW                                                                :HLJKW
6H[         0DOH                                                      5DFH           :KLWH
+DLU          %URZQ                                                   (\HV            *UHHQ

6FDUV WDWWRRV RWKHU GLVWLQJXLVKLQJ PDUNV          XQN




+LVWRU\ RI YLROHQFH ZHDSRQV GUXJ XVH


.QRZQ IDPLO\ IULHQGV DQG RWKHU DVVRFLDWHV (name, relation, address, phone number)


)%, QXPEHU
&RPSOHWH GHVFULSWLRQ RI DXWR


,QYHVWLJDWLYH DJHQF\ DQG DGGUHVV            )HGHUDO %XUHDX RI ,QYHVWLJDWLRQ
                                              WK 6W 1:
                                             :DVKLQJWRQ '& 
1DPH DQG WHOHSKRQH QXPEHUV RIILFH DQG FHOO RI SUHWULDO VHUYLFHV RU SUREDWLRQ RIILFHU (if applicable)



'DWH RI ODVW FRQWDFW ZLWK SUHWULDO VHUYLFHV RU SUREDWLRQ RIILFHU (if applicable)
